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                                                                    UNITED STATES DISTRICT COURT
                        COSTA MESA
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                                                                   CENTRAL DISTRICT OF CALIFORNIA
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                                               IN RE: TOLL ROADS LITIGATION              CASE NO.: 8:16-CV-00262-
                                         17    PENNY DAVIDI BORSUK; DAVID                AG(JCGx)
                                               COULTER; EBRAHIM E. MAHDA;
                                         18    TODD QUARLES; TODD                        BEFORE THE HONORABLE
                                               CARPENTER; LORI MYERS; DAN                ANDREW J. GUILFORD
                                         19    GOLKA; and JAMES WATKINS on
                                               Behalf of Themselves and All Others       OCTA AND COFIROUTE’S
                                         20    Similarly Situated,                       REQUEST THAT THE COURT
                                                                                         RELEASE ITS TENTATIVE
                                         21               Plaintiffs,                    RULING ON FIVE ISSUES
                                                                                         RAISED IN DEFENDANTS’ JOINT
                                         22    v.                                        MOTION TO DECIDE KEY
                                                                                         QUESTIONS
                                         23    FOOTHILL/EASTERN
                                               TRANSPORTATION CORRIDOR                   HEARING DATES PENDING:
                                         24    AGENCY; SAN JOAQUIN HILLS                 Type: Defendants’ Joint Motion to
                                               TRANSPORTATION CORRIDOR                           To Decide Key Questions
                                         25    AGENCY; ORANGE COUNTY                     Date: October 28, 2019
                                               TRANSPORTATION AUTHORITY;                 Time: 10:00 a.m.
                                         26    3M COMPANY; BRiC-TPS LLC;                 Courtroom: 10-D
                                               RHONDA REARDON; MICHAEL
                                         27    KRAMAN; CRAIG YOUNG; SCOTT
                                               SCHOEFFEL; ROSS CHUN;
                                         28    DARRELL JOHNSON; LORI
                                               DONCHAK; WILLIAM P. DUFFY;
                                                                                     1
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                                          1    COFIROUTE SR 91 CORP;
                                               COFIROUTE CORPORATION; and
                                          2    DOES 3-10, inclusive,
                                          3                      Defendants.
                                          4
                                          5
                                          6               During the August 26, 2019 hearing on Defendant's Joint Motion for Order to
                                          7   Decide Key Questions and Certify them for Appeal [the “Joint Motion,” Dkt. 520], the
                                          8   Court invited Defendants Orange County Transportation Authority (“OCTA”) and
                                          9   Cofiroute USA LLC (“Cofiroute”) to file a request to have discrete portions of the
                                         10   tentative ruling on the Joint Motion released now, rather than waiting for the October
                                         11   28, 2019, continued hearing on the Joint Motion.
                                         12               Prior to the filing of this request, counsel for OCTA and Cofiroute telephonically
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                                              met and conferred with counsel for all other parties in an attempt to reach agreement on
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                                         14   what, if any, impact the release of the tentative ruling on the issues affecting OCTA and
                                         15   Cofiroute might have on the settlement between Plaintiffs and Defendant 3-M and the
                                         16   tentative settlement between Plaintiffs and the TCA Defendants, which includes TCA’s
                                         17   contractor BRiC. Counsel for 3M confirmed that 3M’s settlement will not be impacted
                                         18   by the release of the tentative ruling, and that they will proceed with a request for Court
                                         19   approval of the settlement regardless of the ultimate outcome of the Joint Motion.
                                         20               As discussed more fully below, counsel for Plaintiffs and the TCA Defendants
                                         21   disagreed on how the release of the tentative ruling on the OCTA/Cofiroute issues might
                                         22   impact their tentative settlement. Plaintiffs indicated that they intend to file an
                                         23   opposition to the OCTA/Cofiroute request. For that reason, OCTA and Cofiroute will
                                         24   not attempt to characterize their objections. The TCA position on each issue is
                                         25   summarized below.
                                         26               OCTA and Cofiroute request that the tentative ruling on the following five issues
                                         27   be released.
                                         28   ///
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                                          1               1.    The portion of Question 1 that asks whether California Streets and
                                          2   Highways section 31490 (“Section 31490”) permits transportation agencies to send the
                                          3   license plate number to the DMV each time there is a violation to get the registered
                                          4   owner’s name and address, so the agency can send a notice of violation to “the
                                          5   registered owner,” as required by Vehicle Code section 40254(a). OCTA and Cofiroute
                                          6   submit that the issuance of the tentative ruling on this issue will have, at most, a
                                          7   negligible impact on the TCA tentative settlement.
                                          8               There is an important distinction between the DMV look-up claims asserted
                                          9   against OCTA and Cofiroute and the claims asserted against TCA and BRiC. As to
                                         10   TCA and BRiC, Plaintiffs challenge the fact that TCA includes the date of the violation
                                         11   with every license plate number sent to the DMV for purposes of obtaining the name
                                         12   and address of the registered owner of the car, whether for the first or a subsequent
                                         13   violation involving the license plate number. In contrast, the only DMV look-up claim
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                                         14   asserted against OCTA and Cofiroute is the practice of querying the DMV data base for
                                         15   the registered owner name and address for second and subsequent violations involving
                                         16   the same license plate number rather than using the name and address obtained from the
                                         17   DMV in connection with a prior violation. Even if the second look-up claim is resolved,
                                         18   TCA would continue to face potential liability for every DMV look-up based on the
                                         19   inclusion of a violation date in the data string.1 In other words, resolution of the second
                                         20   violation look-up issue resolves only one of two possible DMV look-up claims asserted
                                         21   against TCA, and leaves an unresolved issue for every TCA DMV look-up during the
                                         22   class period.
                                         23               Counsel for TCA agreed that issuance of the tentative ruling on the second DMV
                                         24   look-up issue would likely have little to no effect on the TCA settlement because the
                                         25   issue involving the inclusion of the violation date would remain unresolved. TCA is
                                         26
                                         27   1
                                               OCTA and Cofiroute do not intend to suggest that the inclusion of a date somehow
                                         28   violates Section 31490, but merely to draw a distinction between the claims asserted
                                              against the different Defendants.
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                                          1   therefore not opposed to the issuance of the tentative ruling on the second DMV look-
                                          2   up issue.
                                          3               However, counsel for TCA requested that the tentative ruling on issue of
                                          4   inclusion of the date in the data string sent to the DMV not be released.
                                          5               2.   Question 6, which asks whether Section 31490 permits transportation
                                          6   agencies to send to a car rental company the information required to be included in a
                                          7   toll violation notice when a vehicle owned by that car rental company incurs a toll
                                          8   violation, as required by Vehicle Code section 40254(a). This claim is asserted against
                                          9   OCTA, Cofiroute and the TCA Defendants. Counsel for TCA stated that while this issue
                                         10   affects both OCTA and TCA, it was not a significant part of TCA’s settlement analysis,
                                         11   is only a very small part of the claim against TCA, and will likely have no impact on
                                         12   the settlement process.
                                         13               3.   Question 7, which asks whether Section 31490 permits transportation
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                                         14   agencies to send a toll evader’s PII to a collection agency for the purpose of collecting
                                         15   tolls and penalties, as authorized by Vehicle Code section 40267(d). Counsel for TCA
                                         16   stated that issuance of the tentative ruling on this issue would likely have no impact on
                                         17   the TCA settlement.
                                         18               4.   Question 8, which asks whether Section 31490 permits a transportation
                                         19   agency to send to another transportation agency the date and time, toll plaza, and lane
                                         20   of that other agency’s accountholder’s use of its toll road for purposes of
                                         21   interoperability, as authorized by Streets & Highways Code section 27565(a)(2) and
                                         22   required by the CTOC interoperability specifications. This claim is asserted against both
                                         23   OCTA and Cofiroute and the TCA Defendants. Counsel for TCA stated that the
                                         24   issuance of the tentative ruling on this issue could help, rather than hinder, the likelihood
                                         25   of approval of the proposed settlement by the TCA governing boards because the
                                         26   biggest obstacle to approval of the settlement could be the uncertainty of potential future
                                         27   liability to a future class of plaintiffs arising out of interoperability practices. This is
                                         28   particularly true regarding interoperability since no single transportation agency can
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                                          1   unilaterally change or decide not to comply with the CTOC standards.
                                          2               5.    OCTA and Cofiroute also request that the Court release its tentative ruling
                                          3   on that portion of the Joint Motion that seeks certification for interlocutory appeal of
                                          4   any of the above issues that the Court may decide against OCTA and Cofiroute, and of
                                          5   the Court’s prior ruling that in the context of Section 31490(q), the term “knowingly”
                                          6   means only that the transportation agency knew it provided PII to a third party, not that
                                          7   the transportation agency knew that providing the PII to the third party violated the law
                                          8   or had an objectively reasonable belief that it did not violate the law. Certifying issues
                                          9   for interlocutory appeal should not have any impact on the decision of the TCA
                                         10   governing boards to accept or reject the tentative settlement.
                                         11               Counsel for TCA agreed, noting that the TCA boards already know that absent
                                         12   a global settlement, the seminal issues in this case are likely to eventually be heard by
                                         13   the Ninth Circuit. If the TCA boards decide that they want to wait to see how the Ninth
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                                         14   Circuit eventually rules on any of the issues in the case rather than approve the tentative
                                         15   settlement, they will do that regardless of whether the Court certifies any issues decided
                                         16   against OCTA and Cofiroute or the “knowing violation” for an interlocutory appeal or
                                         17   if such issues are part of a post-judgment appeal.
                                         18               In addition to the foregoing, it is important to note that TCA is facing a separate
                                         19   issue of potential liability related to marketing claims that were not addressed in the
                                         20   Joint Motion. Those marketing related claims are not asserted against OCTA or
                                         21   Cofiroute. So regardless of the ruling on any or all of the issues raised in the Joint
                                         22   motion, TCA still faces potential liability on the alleged marketing claims.
                                         23    DATED: September 11, 2019                  WOODRUFF, SPRADLIN & SMART, APC
                                         24
                                                                                          By: s/ M. Lois Bobak_________________
                                         25                                                  M. LOIS BOBAK
                                                                                             PATRICK M. DESMOND
                                         26
                                                                                             Attorneys for Defendants OCTA, DARRELL
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                                          1   DATED: September 11, 2019                  CORBETT, STEELMAN & SPECTER
                                          2
                                          3                                              By: s/ David F. Brown________________
                                                                                            DAVID F. BROWN
                                          4                                                 Attorneys for Defendant COFIROUTE USA,
                                          5                                                 LLC
                                          6
                                                          Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), the above-listed filing attorney
                                          7
                                              certifies that all signatories listed, and on whose behalf this filing is submitted, concur
                                          8
                                              in this filing’s content and have authorized its filing.
                                          9
                                               DATED: September 11, 2019                 WOODRUFF, SPRADLIN & SMART, APC
                                         10
                                         11
                                                                                         By: s/ M. Lois Bobak_________________
                                         12                                                 M. LOIS BOBAK
                                         13                                                 PATRICK M. DESMOND
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                                                                                            Attorneys for Defendants OCTA, DARRELL
                        COSTA MESA
    & SMART




                                         14                                                 JOHNSON & LORI DONCHAK
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                                          1                                        PROOF OF SERVICE
                                          2                       STATE OF CALIFORNIA, COUNTY OF ORANGE
                                          3        I am over the age of 18 and not a party to the within action; I am employed by
                                              WOODRUFF, SPRADLIN & SMART in the County of Orange at 555 Anton
                                          4   Boulevard, Suite 1200, Costa Mesa, CA 92626-7670.
                                          5       On September 11, 2019, I served the foregoing document(s) described as OCTA
                                              AND COFIROUTE’S REQUEST THAT THE COURT RELEASE ITS
                                          6
                                              TENTATIVE RULING ON FIVE ISSUES RAISED IN DEFENDANTS’ JOINT
                                          7   MOTION TO DECIDE KEY QUESTIONS
                                          8              by placing the true copies thereof enclosed in sealed envelopes addressed as
                                                          stated on the attached mailing list;
                                          9
                                                         by placing  the original  a true copy thereof enclosed in sealed envelopes
                                         10               addressed as follows:
                                         11              (BY MAIL) I placed said envelope(s) for collection and mailing, following
                                                          ordinary business practices, at the business offices of WOODRUFF, SPRADLIN
                                         12               & SMART, and addressed as shown on the attached service list, for deposit in
                                                          the United States Postal Service. I am readily familiar with the practice of
                                         13               WOODRUFF, SPRADLIN & SMART for collection and processing
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                                                          correspondence for mailing with the United States Postal Service, and said
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                                         14               envelope(s) will be deposited with the United States Postal Service on said date
                                                          in the ordinary course of business.
                                         15
                                                         (BY ELECTRONIC SERVICE) by causing the foregoing document(s) to be
                                         16               electronically filed using the Court’s Electronic Filing System which constitutes
                                                          service of the filed document(s) on the individual(s) listed on the attached mailing
                                         17               list.
                                         18              (BY OVERNIGHT DELIVERY) I placed said documents in envelope(s) for
                                                          collection following ordinary business practices, at the business offices of
                                         19               WOODRUFF, SPRADLIN & SMART, and addressed as shown on the attached
                                                          service list, for collection and delivery to a courier authorized by
                                         20               _________________________ to receive said documents, with delivery fees
                                                          provided for. I am readily familiar with the practices of WOODRUFF,
                                         21               SPRADLIN & SMART for collection and processing of documents for overnight
                                                          delivery, and said envelope(s) will be deposited for receipt by
                                         22               _________________________ on said date in the ordinary course of business.
                                         23              (Federal) I declare that I am employed in the office of a member of the bar of
                                                                   this court at whose direction the service was made. I declare under
                                         24                        penalty of perjury that the above is true and correct.
                                         25               Executed on September 11, 2019 at Costa Mesa, California.
                                         26
                                                                                                         s/ Marina M. Ortega
                                         27                                                              Marina M. Ortega
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